Case 2:17-cv-07727-PSG-JEM Document 20 Filed 11/09/17 Page 1 of 2 Page ID #:180



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  8                              UNITED STATES DISTRICT COURT
  9                             CENTRAL DISTRICT OF CALIFORNIA
 10    BARRY ROSEN, Individually and as a      Case No.    2:17-cv-07727-PSG-JEMx
       Private Attorney General,
 11                                            [PROPOSED] ORDER GRANTING
               Petitioner and Plaintiff,       DEFENDANT CITY OF SANTA
 12                                            MONICA’S EX PARTE
               v.                              APPLICATION FOR EXTENSION
 13                                            OF TIME TO RESPOND TO
       UNITED STATES GOVERNMENT,               PETITION
 14    FEDERAL AVIATION
       ADMINISTRATION, AND CITY OF
 15    SANTA MONICA,                           Hon. Philip S. Gutierrez
 16            Respondents and Defendants.     Petition Filed: October 23, 2017
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                                                    [PROPOSED] ORDER GRANTING EX PARTE
      Case No. 2:17-cv-07727-PSG-JEMx
                                                      APPLICATION FOR EXTENSION OF TIME
       la-1365495
Case 2:17-cv-07727-PSG-JEM Document 20 Filed 11/09/17 Page 2 of 2 Page ID #:181



  1           Presently before the Court is Defendant City of Santa Monica’s Ex Parte
  2    Application for Extension of Time to Respond to Petition (the “Application”).
  3    Having considered the papers submitted by the parties, the pleadings on file in this
  4    action, and good cause having been shown,
  5           IT IS HEREBY ORDERED that:
  6           1.      The City of Santa Monica (the “City”) shall have until January 15,
  7    2018 to respond to the (Verified) Petition for Writ of Mandate and Complaint for
  8    Declaratory and Injunctive Relief, including by motion or otherwise;
  9           2.      Petitioner Barry Rosen’s opposition to the City’s motion to dismiss
 10    shall be filed by January 22, 2018, and any reply shall be filed by January 29, 2018;
 11           3.      The hearing on the City’s motion to dismiss shall take place on
 12    February 12, 2018.
 13           IT IS SO ORDERED.
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 15    Dated:       11/9                , 2017
                                                 Honorable Philip S. Gutierrez
 16                                              UNITED STATES DISTRICT JUDGE
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                                                          [PROPOSED] ORDER GRANTING EX PARTE
      Case No. 2:17-cv-07727-PSG-JEMx            1
                                                            APPLICATION FOR EXTENSION OF TIME
       la-1365495
